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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA



RICHARD A. GORMAN,                                           Civil Action No. 2:20-cv-04759-JCJ
                                Plaintiff,

               -against-                                     DECLARATION OF MATTHEW
                                                             J. PRESS

ILYA SHPETRIK,

                                Defendant.



       I, MATTHEW J. PRESS, declare under penalty of perjury that the following is true and

correct, to my personal knowledge:

       1.      I am counsel to Defendant Illya Shpetrik and am familiar with the facts set forth

herein. I submit this declaration in support of Defendant’s motion to dismiss the Complaint.

       2.      A true and correct copy of Plaintiffs’ Complaint in this matter, along with Exhibits

1-12 to the Complaint, is attached hereto as Exhibit 1.

       3.      A true and correct copy of the Responses to Interrogatories Nos. 1 & 4 by John C.

Monarch in Richard A. Gorman v. John C. Monarch, et al., Eastern District of New York, Civ.

Action No. 14-0890, is attached hereto as Exhibit 2.

       4.      A true and correct copy of a Facebook chat produced in discovery in Richard A.

Gorman v. John C. Monarch, et al., Eastern District of New York, Civ. Action No. 14-0890, is

attached hereto as Exhibit 3.
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       5.      A true and correct copy of excerpts of the deposition of Richard A. Gorman in

Richard A. Gorman v. John C. Monarch, et al., Eastern District of New York, Civ. Action No. 14-

0890, is attached hereto as Exhibit 4.



                                                   _________________________
                                                         Matthew J. Press




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